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                                                                                7                        UNITED STATES DISTRICT COURT
                                                                                8
                                                                                              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                                9

                                                                               10   MARIO MORONES,                             CASE NO. 2:21-cv-07690 DSF (MAR)
                                                                               11                                              Action Filed: August 6, 2021
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                       Plaintiff,
                                                                               12
                                    TEL. (424) 212-7777 | FAX (424) 212-7757
                                     21515 HAWTHORNE BLVD., SUITE 800




                                                                                                v.                             STIPULATED PROTECTIVE
                                        TORRANCE, CALIFORNIA 90503




                                                                               13
                                                                                                                               ORDER
                                                                               14   COUNTY OF LOS ANGELES by and
                                                                                    through the LOS ANGELES COUNTY
                                                                               15   SHERIFF’S DEPARTMENT;
                                                                                    DEPUTY TUMSER; DEPUTY
                                                                               16   OROSCO; DOES 1 through 25,
                                                                               17                      Defendants.
                                                                               18

                                                                               19   1.    A. PURPOSES AND LIMITATIONS
                                                                               20         Discovery in this action is likely to involve production of confidential,
                                                                               21   proprietary, or private information for which special protection from public
                                                                               22   disclosure and from use for any purpose other than prosecuting this litigation may
                                                                               23   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                                                               24   enter the following Stipulated Protective Order. The parties acknowledge that this
                                                                               25   Order does not confer blanket protections on all disclosures or responses to
                                                                               26   discovery and that the protection it affords from public disclosure and use extends
                                                                               27   only to the limited information or items that are entitled to confidential treatment
                                                                               28   under the applicable legal principles. The parties further acknowledge, as set forth
                                                                                                                          -1-
                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   in Section 12.3, below, that this Stipulated Protective Order does not entitle or
                                                                                2   require them to file confidential information under seal; Civil Local Rule 79-5 sets
                                                                                3   forth the procedures that must be followed and the standards that will be applied
                                                                                4   when a party seeks permission from the court to file material under seal.
                                                                                5         B. GOOD CAUSE STATEMENT
                                                                                6         Good cause exists for entry of this order. Discovery efforts will likely
                                                                                7   involve disclosure of private and confidential information of the parties and of
                                                                                8   third persons, portions of County policies, documents, personnel records,
                                                                                9   investigative reports, medical records and other information the Parties regard as
                                                                               10   private, and which contain sensitive and personal materials which the parties
                                                                               11   believe need special protection from public disclosure.
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                                                                               12         The documents identified in this Protective Order, which the Parties believe
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                                                                               13   in good faith constitute or embody confidential information which the Parties
                                                                               14   maintain as strictly confidential and are otherwise generally unavailable to the
                                                                               15   public, or which may be privileged or otherwise protected from disclosure under
                                                                               16   state or federal statutes, court rules, case decisions, or common law, are therefore
                                                                               17   entitled to heightened protection from disclosure. Accordingly, to expedite the
                                                                               18   flow of information, to facilitate the prompt resolution of disputes over
                                                                               19   confidentiality of discovery materials, to adequately protect information the parties
                                                                               20   are entitled to keep confidential, to ensure that the parties are permitted reasonable
                                                                               21   necessary uses of such material in preparation for and in the conduct of trial, to
                                                                               22   address their handling at the end of the litigation, and serve the ends of justice, a
                                                                               23   protective order for such information is justified in this matter. It is the intent of the
                                                                               24   parties that information will not be designated as confidential for tactical reasons
                                                                               25   and that nothing be so designated without a good faith belief that it has been
                                                                               26   maintained in a confidential, non-public manner, and there is good cause why it
                                                                               27   should not be part of the public record of this case.
                                                                               28
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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   2.     DEFINITIONS
                                                                                2          2.1    Action: This pending federal lawsuit.
                                                                                3          2.2    Challenging Party: A Party or Non-Party that challenges the
                                                                                4   designation of information or items under this Order.
                                                                                5          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
                                                                                6   how it is generated, stored or maintained) or tangible things that qualify for
                                                                                7   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                                                                                8   the Good Cause Statement.
                                                                                9          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
                                                                               10   their support staff).
                                                                               11          2.5    Designating Party: A Party or Non-Party that designates information
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                                                                               12   or items that it produces in disclosures or in responses to discovery as
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13   “CONFIDENTIAL.”
                                                                               14          2.6    Disclosure or Discovery Material: all items or information, regardless
                                                                               15   of the medium or manner in which it is generated, stored, or maintained (including,
                                                                               16   among other things, testimony, transcripts, and tangible things), that are produced
                                                                               17   or generated in disclosures or responses to discovery in this matter.
                                                                               18          2.7    Expert: a person with specialized knowledge or experience in a matter
                                                                               19   pertinent to the litigation who has been retained by a Party or its counsel to serve
                                                                               20   as an expert witness or as a consultant in this Action.
                                                                               21          2.8    House Counsel: attorneys who are employees of a party to this Action.
                                                                               22   House Counsel does not include Outside Counsel of Record or any other outside
                                                                               23   counsel.
                                                                               24          2.9    Non-Party: any natural person, partnership, corporation, association,
                                                                               25   or other legal entity not named as a Party to this action.
                                                                               26          2.10 Outside Counsel of Record: attorneys who are not employees of a
                                                                               27   party to this Action but are retained to represent or advise a party to this Action
                                                                               28
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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   and have appeared in this Action on behalf of that party or are affiliated with a law
                                                                                2   firm which has appeared on behalf of that party and includes support staff.
                                                                                3         2.11 Party: any party to this Action, including all of its officers, directors,
                                                                                4   board, departments, divisions, employees, consultants, retained experts, and
                                                                                5   Outside Counsel of Record (and their support staffs).
                                                                                6         2.12 Producing Party: A Party or Non-Party that produces Disclosure or
                                                                                7   Discovery Material in this Action.
                                                                                8         2.13 Professional Vendors: persons or entities that provide litigation
                                                                                9   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                                                               10   demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                                                               11   and their employees and subcontractors.
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                                                                               12         2.14 Protected Material: any Disclosure or Discovery Material that is
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13   designated as “CONFIDENTIAL.”
                                                                               14         2.15 Receiving Party: A Party that receives Disclosure or Discovery
                                                                               15   Material from a Producing Party.
                                                                               16

                                                                               17   3.    SCOPE
                                                                               18         The protections conferred by this Stipulation and Order cover not only
                                                                               19   Protected Material (as defined above), but also (1) any information copied or
                                                                               20   extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                                                               21   compilations of Protected Material; and (3) any testimony, conversations, or
                                                                               22   presentations by Parties or their Counsel that might reveal Protected Material.
                                                                               23         Any use of Protected Material at trial shall be governed by the orders of the
                                                                               24   trial judge. This Order does not govern the use of Protected Material at trial.
                                                                               25

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                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   4.    DURATION
                                                                                2         Even after final disposition of this litigation, the confidentiality obligations
                                                                                3   imposed by this Order shall remain in effect until a Designating Party agrees
                                                                                4   otherwise in writing or a court order otherwise directs. Final disposition shall be
                                                                                5   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
                                                                                6   with or without prejudice; and (2) final judgment herein after the completion and
                                                                                7   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                                                                                8   including the time limits for filing any motions or applications for extension of
                                                                                9   time pursuant to applicable law.
                                                                               10

                                                                               11   5.    DESIGNATING PROTECTED MATERIAL
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                                                                               12         5.1    Exercise of Restraint and Care in Designating Material for Protection.
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                                                                               13         Each Party or Non-Party that designates information or items for protection
                                                                               14   under this Order must take care to limit any such designation to specific material
                                                                               15   that qualifies under the appropriate standards. The Designating Party must
                                                                               16   designate for protection only those parts of material, documents, items, or oral or
                                                                               17   written communications that qualify so that other portions of the material,
                                                                               18   documents, items, or communications for which protection is not warranted are not
                                                                               19   swept unjustifiably within the ambit of this Order.
                                                                               20          Mass,    indiscriminate,    or   routinized    designations   are   prohibited.
                                                                               21   Designations that are shown to be clearly unjustified or that have been made for an
                                                                               22   improper purpose (e.g., to unnecessarily encumber the case development process
                                                                               23   or to impose unnecessary expenses and burdens on other parties) may expose the
                                                                               24   Designating Party to sanctions.
                                                                               25         If it comes to a Designating Party’s attention that information or items that it
                                                                               26   designated for protection do not qualify for protection, that Designating Party must
                                                                               27   promptly notify all other Parties that it is withdrawing the inapplicable designation.
                                                                               28
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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1         5.2    Manner and Timing of Designations. Except as otherwise provided in
                                                                                2   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                                                                3   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                                                                                4   under this Order must be clearly so designated before the material is disclosed or
                                                                                5   produced.
                                                                                6         Designation in conformity with this Order requires:
                                                                                7         (a)    for information in documentary form (e.g., paper or electronic
                                                                                8   documents, but excluding transcripts of depositions or other pretrial or trial
                                                                                9   proceedings), that the Producing Party affix at a minimum, the legend
                                                                               10   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
                                                                               11   contains protected material. The legend must not obstruct a Party’s ability to view
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                                                                               12   the contents of that document. If only a portion or portions of the material on a
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                                                                               13   page qualifies for protection, the Producing Party also must clearly identify the
                                                                               14   protected portion(s) (e.g., by making appropriate markings in the margins).
                                                                               15         A Party or Non-Party that makes original documents available for inspection
                                                                               16   need not designate them for protection until after the inspecting Party has indicated
                                                                               17   which documents it would like copied and produced. During the inspection and
                                                                               18   before the designation, all of the material made available for inspection shall be
                                                                               19   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
                                                                               20   documents it wants copied and produced, the Producing Party must determine
                                                                               21   which documents, or portions thereof, qualify for protection under this Order.
                                                                               22   Then, before producing the specified documents, the Producing Party must affix
                                                                               23   the “CONFIDENTIAL legend” to each page that contains Protected Material. If
                                                                               24   only a portion or portions of the material on a page qualifies for protection, the
                                                                               25   Producing Party also must clearly identify the protected portion(s) (e.g., by making
                                                                               26   appropriate markings in the margins).
                                                                               27

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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1         (b)    for testimony given in depositions that the Designating Party identify
                                                                                2   the Disclosure or Discovery Material on the record, before the close of the
                                                                                3   deposition all protected testimony.
                                                                                4         (c)    for information produced in some form other than documentary and
                                                                                5   for any other tangible items, that, at a minimum, the Producing Party affix in a
                                                                                6   prominent place on the exterior of the container or containers in which the
                                                                                7   information is stored the legend “CONFIDENTIAL.” If only a portion or portions
                                                                                8   of the information warrants protection, the Producing Party, to the extent
                                                                                9   practicable, shall identify the protected portion(s).
                                                                               10         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                                                               11   failure to designate qualified information or items does not, standing alone, waive
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                                                                               12   the Designating Party’s right to secure protection under this Order for such
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                                                                               13   material. Upon timely correction of a designation, the Receiving Party must make
                                                                               14   reasonable efforts to assure that the material is treated in accordance with the
                                                                               15   provisions of this Order.
                                                                               16

                                                                               17   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                                                               18         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
                                                                               19   designation of confidentiality at any time that is consistent with the Court’s
                                                                               20   Scheduling Order.
                                                                               21         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
                                                                               22   resolution process under Local Rule 37.1 et seq.
                                                                               23         6.3    The burden of persuasion in any such challenge proceeding shall be
                                                                               24   on the Designating Party. Frivolous challenges, and those made for an improper
                                                                               25   purpose (e.g. to harass or impose unnecessary expenses and burdens on other
                                                                               26   parties) may expose the Challenging Party to sanctions. Unless the Designating
                                                                               27   Party has waived or withdrawn the confidentiality designation, all parties shall
                                                                               28
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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   continue to afford the material in question the level of protection to which it is
                                                                                2   entitled under the Producing Party’s designation until the Court rules on the
                                                                                3   challenge.
                                                                                4

                                                                                5   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
                                                                                6         7.1    Basic Principles. A Receiving Party may use Protected Material that is
                                                                                7   disclosed or produced by another Party or by a Non-Party in connection with this
                                                                                8   Action only for prosecuting, defending, or attempting to settle this Action. Such
                                                                                9   Protected Material may be disclosed only to the categories of persons and under
                                                                               10   the conditions described in this Order. When the Action has been terminated, a
                                                                               11   Receiving Party must comply with the provisions of section 13 below (FINAL
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                                                                               12   DISPOSITION).
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                                                                               13         Protected Material must be stored and maintained by a Receiving Party at a
                                                                               14   location and in a secure manner that ensures that access is limited to the persons
                                                                               15   authorized under this Order.
                                                                               16         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                                                               17   otherwise ordered by the court or permitted in writing by the Designating Party, a
                                                                               18   Receiving    Party   may       disclose   any   information    or   item   designated
                                                                               19   “CONFIDENTIAL” only to:
                                                                               20         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
                                                                               21         as employees of said Outside Counsel of Record to whom it is reasonably
                                                                               22         necessary to disclose the information for this Action;
                                                                               23         (b) the officers, directors, and employees (including House Counsel) of the
                                                                               24   Receiving Party to whom disclosure is reasonably necessary for this Action;
                                                                               25         (c) Experts (as defined in this Order) of the Receiving Party to whom
                                                                               26   disclosure is reasonably necessary for this Action and who have signed the
                                                                               27   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                               28
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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1         (d) the court and its personnel;
                                                                                2          (e) court reporters and their staff;
                                                                                3         (f) professional jury or trial consultants, mock jurors, and Professional
                                                                                4         Vendors to whom disclosure is reasonably necessary for this Action and who
                                                                                5         have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
                                                                                6         A);
                                                                                7         (g) the author or recipient of a document containing the information or a
                                                                                8   custodian or other person who otherwise possessed or knew the information;
                                                                                9         (h) during their depositions, witnesses, and attorneys for witnesses, in the
                                                                               10   Action to whom disclosure is reasonably necessary provided: (1) the deposing
                                                                               11   party requests that the witness sign the “Acknowledgment and Agreement to Be
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                                                                               12   Bound” form attached as Exhibit A hereto; and (2) they will not be permitted to
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                                                                               13   keep any confidential information unless they sign the “Acknowledgment and
                                                                               14   Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating
                                                                               15   Party or ordered by the court. Pages of transcribed deposition testimony or exhibits
                                                                               16   to depositions that reveal Protected Material may be separately bound by the court
                                                                               17   reporter and may not be disclosed to anyone except as permitted under this
                                                                               18   Stipulated Protective Order; and
                                                                               19         (i) any mediator or settlement officer, and their supporting personnel,
                                                                               20         mutually agreed upon by any of the parties engaged in settlement
                                                                               21         discussions.
                                                                               22

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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                                                                                2   IN OTHER LITIGATION
                                                                                3         If a Party is served with a subpoena or a court order issued in other litigation
                                                                                4   that compels disclosure of any information or items designated in this Action as
                                                                                5   “CONFIDENTIAL,” that Party must:
                                                                                6         (a)    promptly notify in writing the Designating Party. Such notification
                                                                                7   shall include a copy of the subpoena or court order;
                                                                                8         (b)    promptly notify in writing the party who caused the subpoena or order
                                                                                9   to issue in the other litigation that some or all of the material covered by the
                                                                               10   subpoena or order is subject to this Protective Order. Such notification shall
                                                                               11   include a copy of this Stipulated Protective Order; and
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                                                                               12         (c)    cooperate with respect to all reasonable procedures south to be
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                                                                               13   pursued by the Designating Party whose Protected Material may be affected.
                                                                               14         If the Designating Party timely seeks a protective order, the Party served
                                                                               15   with the subpoena or court order shall not produce any information designated in
                                                                               16   this action as “CONFIDENTIAL” before a determination by the court from which
                                                                               17   the subpoena or order issued, unless the Party has obtained the Designating Party’s
                                                                               18   permission. The Designating Party shall bear the burden and expense of seeking
                                                                               19   protection in that court of its confidential material and nothing in these provisions
                                                                               20   should be construed as authorizing or encouraging a Receiving Party in this Action
                                                                               21   to disobey a lawful directive from another court.
                                                                               22

                                                                               23   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                                                               24   PRODUCED IN THIS LITIGATION
                                                                               25         (a)    The terms of this Order are applicable to information produced by a
                                                                               26   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
                                                                               27   produced by Non-Parties in connection with this litigation is protected by the
                                                                               28
                                                                                                                         -10-
                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   remedies and relief provided by this Order. Nothing in these provisions should be
                                                                                2   construed as prohibiting a Non-Party from seeking additional protections.
                                                                                3         (b)    In the event that a Party is required, by a valid discovery request, to
                                                                                4   produce a Non-Party’s confidential information in its possession, and the Party is
                                                                                5   subject to an agreement with the Non-Party not to produce the Non-Party’s
                                                                                6   confidential information, then the Party shall:
                                                                                7         (1)    promptly notify in writing the Requesting Party and the Non-Party
                                                                                8   that some or all of the information requested is subject to a confidentiality
                                                                                9   agreement with a Non-Party;
                                                                               10         (2)    promptly provide the Non-Party with a copy of the Stipulated
                                                                               11   Protective Order in this Action, the relevant discovery request(s), and a reasonably
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                                                                               12   specific description of the information requested; and
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13         (3)    make the information requested available for inspection by the Non-
                                                                               14   Party, if requested.
                                                                               15         (c )   If the Non-Party fails to seek a protective order from this court within
                                                                               16   14 days of receiving the notice and accompanying information, the Receiving
                                                                               17   Party may produce the Non-Party’s confidential information responsive to the
                                                                               18   discovery request. If the Non-Party timely seeks a protective order, the Receiving
                                                                               19   Party shall not produce any information in its possession or control that is subject
                                                                               20   to the confidentiality agreement with the Non-Party before a determination by the
                                                                               21   court. Absent a court order to the contrary, the Non-Party shall bear the burden and
                                                                               22   expense of seeking protection in this court of its Protected Material.
                                                                               23

                                                                               24   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
                                                                               25         If a Receiving Party learns that, by inadvertence or otherwise, it has
                                                                               26   disclosed Protected Material to any person or in any circumstance not authorized
                                                                               27   under this Stipulated Protective Order, the Receiving Party must immediately (a)
                                                                               28
                                                                                                                         -11-
                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
                                                                                2   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
                                                                                3   the person or persons to whom unauthorized disclosures were made of all the terms
                                                                                4   of this Order, and (d) request such person or persons to execute the
                                                                                5   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
                                                                                6   A.
                                                                                7

                                                                                8   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                                                                9         PROTECTED MATERIAL.
                                                                               10         When a Producing Party gives notice to Receiving Parties that certain
                                                                               11   inadvertently produced material is subject to a claim of privilege or other
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                                                                               12   protection, the obligations of the Receiving Parties are those set forth in Federal
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
                                                                               14   whatever procedure may be established in an e-discovery order that provides for
                                                                               15   production without prior privilege review. Pursuant to Federal Rule of Evidence
                                                                               16   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
                                                                               17   of a communication or information covered by the attorney-client privilege or
                                                                               18   work product protection, the parties may incorporate their agreement in the
                                                                               19   stipulated protective order submitted to the court.
                                                                               20

                                                                               21   12.   MISCELLANEOUS
                                                                               22         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                                                               23   person to seek its modification by the Court in the future.
                                                                               24         12.2 Right to Assert Other Objections. By stipulating to the entry of this
                                                                               25   Protective Order no Party waives any right it otherwise would have to object to
                                                                               26   disclosing or producing any information or item on any ground not addressed in
                                                                               27   this Stipulated Protective Order. Similarly, no Party waives any right to object on
                                                                               28
                                                                                                                         -12-
                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   any ground to use in evidence of any of the material covered by this Protective
                                                                                2   Order.
                                                                                3         12.3 Filing Protected Material. A Party that seeks to file under seal any
                                                                                4   Protected Material must comply with Civil Local Rule 79-5. No Party is required
                                                                                5   to file any Protected Material under seal. Protected Material may only be filed
                                                                                6   under seal pursuant to a court order authorizing the sealing of the specific
                                                                                7   Protected Material at issue. If a Party's request to file Protected Material under seal
                                                                                8   is denied by the court, then the Receiving Party may file the information in the
                                                                                9   public record unless otherwise instructed by the court.
                                                                               10

                                                                               11   13.   FINAL DISPOSITION.
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                                                                               12         After the final disposition of this Action (as defined in paragraph 4), within
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                                                                               13   60 days of a written request by the Designating Party, each Receiving Party must
                                                                               14   return all Protected Material to the Producing Party or destroy such material. As
                                                                               15   used in this subdivision, “all Protected Material” includes all copies, abstracts,
                                                                               16   compilations, summaries, and any other format reproducing or capturing any of the
                                                                               17   Protected Material. Whether the Protected Material is returned or destroyed, the
                                                                               18   Receiving Party must submit a written certification to the Producing Party (and, if
                                                                               19   not the same person or entity, to the Designating Party) by the 60 day deadline that
                                                                               20   (1) identifies (by category, where appropriate) all the Protected Material that was
                                                                               21   returned or destroyed and (2) affirms that the Receiving Party has not retained any
                                                                               22   copies, abstracts, compilations, summaries or any other format reproducing or
                                                                               23   capturing any of the Protected Material. Notwithstanding this provision, Counsel
                                                                               24   are entitled to retain an archival copy of all pleadings, motion papers, trial,
                                                                               25   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
                                                                               26   and trial exhibits, expert reports, attorney work product, and consultant and expert
                                                                               27   work product, even if such materials contain Protected Material. Any such archival
                                                                               28
                                                                                                                         -13-
                                                                                    ______________________________________________________________________________
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                                                                                1   copies that contain or constitute Protected Material remain subject to this
                                                                                2   Protective Order as set forth in Section 4 (DURATION).
                                                                                3

                                                                                4   14.   Any violation of this Order may be punished by any and all appropriate
                                                                                5   measures including, without limitation, contempt proceedings and/or monetary
                                                                                6   sanctions.
                                                                                7

                                                                                8   IT IS SO ORDERED
                                                                                9

                                                                               10   DATED: November ____,
                                                                                                     9    2021
                                                                               11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                                         ________________________
                                                                                                                        _____________
                                                                               12                                       Hon. Margo A. Rocconi
                                    TEL. (424) 212-7777 | FAX (424) 212-7757
                                     21515 HAWTHORNE BLVD., SUITE 800




                                                                                                                        United States Magistrate Judge
                                        TORRANCE, CALIFORNIA 90503




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                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1                                       EXHIBIT A
                                                                                2
                                                                                           ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND
                                                                                3

                                                                                4   I, __________________________ [print or type full name], of

                                                                                5   _________________ [print or type full address], declare under penalty of perjury
                                                                                6
                                                                                    that I have read in its entirety and understand the Stipulated Protective Order that
                                                                                7

                                                                                8   was issued by the United States District Court for the Central District of California

                                                                                9   on _______________ in the case of Mario Morones v. County of Los Angeles et.
                                                                               10
                                                                                    al., Case No. 2:21-cv-07690-DSF-MAR.
                                                                               11
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                                                                               12         I agree to comply with and to be bound by all the terms of this Stipulated
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13   Protective Order and I understand and acknowledge that failure to so comply could
                                                                               14
                                                                                    expose me to sanctions and punishment in the nature of contempt. I solemnly
                                                                               15

                                                                               16   promise that I will not disclose in any manner any information or item that is
                                                                               17   subject to this Stipulated Protective Order to any person or entity except in strict
                                                                               18
                                                                                    compliance with the provisions of this Order.
                                                                               19

                                                                               20         I further agree to submit to the jurisdiction of the United States District
                                                                               21   Court for the Central District of California for the purpose of enforcing the terms
                                                                               22
                                                                                    of this Stipulated Protective Order, even if such enforcement proceedings occur
                                                                               23

                                                                               24   after termination of this action.
                                                                               25         I hereby appoint _______________[print or type full name] of
                                                                               26
                                                                                    _________________________ [print or type full address and telephone number]
                                                                               27

                                                                               28
                                                                                                                         -15-
                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
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                                                                                1   as my California agent for service of process in connection with this action or any
                                                                                2
                                                                                    proceedings related to enforcement of this Stipulated Protective Order.
                                                                                3

                                                                                4   Date: __________

                                                                                5   City and State where sworn and signed: _____________________
                                                                                6
                                                                                    Printed name and signature: _______________________________
                                                                                7

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                                                                               12
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                                                                                    ______________________________________________________________________________
                                                                                                          STIPULATED PROTECTIVE ORDER
